

People v Beard (2024 NY Slip Op 00053)





People v Beard


2024 NY Slip Op 00053


Decided on January 09, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 09, 2024

Before: Webber, J.P., Gesmer, Kennedy, Rosado, Michael, JJ. 


Ind. No. 4661/17 Appeal No. 1356 Case No. 2020-04927 

[*1]The People of the State of New York, Respondent,
vJamik Beard, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (IvÁn Pantoja of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Jennifer Mitchell of counsel), for respondent.



Order, Supreme Court, New York County (Laura A. Ward, J.), entered on or about December 11, 2020, which adjudicated defendant a level three sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion in denying defendant's request for a downward departure (see People v Gillotti, 23 NY3d 841, 861 [2014]). Defendant's successful completion of sex offender treatment and vocational programming, favorable disciplinary record, and postrelease familial support were adequately taken into account by the risk assessment instrument (see People v Sadagheh, 214 AD3d 566 [1st Dept 2023], lv denied 40 NY3d 902 [2023]; People v Brown, 213 AD3d 437 [1st Dept 2023], lv denied 39 NY3d 914 [2023]). Defendant did not establish that his rehabilitative efforts were so exceptional as to warrant a departure (see People v Cardona, 216 AD3d 518, 518-519 [1st Dept 2023]). The potential hardship that may arise from the housing restrictions imposed on defendant as a result of his risk level three adjudication is not a mitigating circumstance. In any event, the mitigating factors were outweighed by the persistent nature of defendant's offending behavior, which continued after his release on a prior sex crime conviction and adjudication as a risk level two offender.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 9, 2024








